
ORDER
PER CURIAM.
A combined petition for panel rehearing and rehearing en banc was filed by Plaintiff-Appellant, and a response thereto was invited by the court and filed by Defendants-Appellees. The petition for rehearing was referred to the panel that heard the appeal, and thereafter the petition for rehearing en banc and the response were referred to the circuit judges who are authorized to request a poll of whether to rehear the appeal en banc. A poll was requested, taken, and failed.
Upon consideration thereof,
It Is Ordered That:
(1) The petition of Plaintiff-Appellant for panel rehearing is denied.
(2) The petition of Plaintiff-Appellant for rehearing en banc is denied.
(3) The mandate of the court will issue on April 18, 2012.
